                    IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                                NO: 3:04CR201

UNITED STATES OF AMERICA,                 )
          Plaintiff                       )
                                          )
vs.                                       )                         ORDER
                                          )
VINTAGE PHARMACEUTICALS, INC.             )
WILLIAM PROPST, SR.,                      )
WILLIAM PROPST, JR., and                  )
QUALITEST PHARMACEUTICALS, INC.,          )
            Defendants.                   )
__________________________________________)

       THIS MATTER IS BEFORE THE COURT on pending motions. A hearing on the

following motions shall be held before the undersigned the week of July 10, 2006:

       (1)    Motion to Dismiss Indictment or, in the Alternative, for an Evidentiary Hearing

              (Document No. 45) filed December 4, 2004;

       (2)    Motion to Suppress Evidence Based on the Government’s Improper Use of the

              Administrative Process to Conduct a Criminal Investigation (Document No. 104)

              filed May 31, 2005; and

       (3)    Motion to Dismiss the Indictment Under the Raley Doctrine (Document No. 110)

              filed May 31, 2005.

       IT IS, THEREFORE, ORDERED that the undersigned will receive evidence and hear

argument on the foregoing motions commencing on Monday, July 10, 2006, at 9:30 a.m., and

concluding at or before 6:00 p.m. on Wednesday, July 12, 2006.




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                                 Signed: May 18, 2006




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